                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In the matter of:
JOSEPH G. DUMOUCHELLE, and                  Bankruptcy Petition No. 19-54531-lsg
MELINDA J. ADDUCCI,                                        Hon. Lisa S. Gretchko
                  Debtor(s)                                            Chapter 7


TEODOR GELOV,                                           Adv. Pro. No. 20-04172-lsg
              Plaintiff,                                     Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


      DEFENDANT’S OBJECTION TO DEPOSITION NOTICE AND
              MOTION FOR PROTECTIVE ORDER

      NOW COMES the Defendant, MELINDA J. ADDUCCI, (“Lindy”), by and

through her counsel, JOHN R. FOLEY, P.C., who hereby moves this Court for entry

of a Protective Order, in substantially the form attached hereto as Exhibit 1.

      Lindy, through her counsel, for her motion, states as follows:

      1.     Lindy brings this motion pursuant to Fed.R.Civ.P. 26(c) made

applicable to this proceeding by Fed.R.Bankr.P. 7026, for a protective order limiting

the scope of Plaintiff’s discovery.

      2.     Fed.R.Civ.Pro. 26(c)(1) stated, in pertinent part:

             The court may, for good cause, issue an order to protect a
             party or person from annoyance, embarrassment,


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            oppression, or undue burden or expense, including one or
            more of the following:
                  (A) forbidding the disclosure or discovery;
                  (B) specifying terms, including time and place or
                  the allocation of expenses, for the disclosure or
                  discovery;
                  (C) prescribing a discovery method other than the
                  one selected by the party seeking discovery;
                  (D) forbidding inquiry into certain matters, or
                  limiting the scope of disclosure or discovery to
                  certain matters;
                  (E) designating the persons who may be present
                  while the discovery is conducted;
                  (F) requiring that a deposition be sealed and opened
                  only on court order;
                  (G) requiring that a trade secret or other confidential
                  research, development, or commercial information
                  not be revealed or be revealed only in a specified
                  way; and
                  (H) requiring that the parties simultaneously file
                  specified documents or information in sealed
                  envelopes, to be opened as the court directs.

    3.      Specifically, Lindy seeks an Order limiting discovery such that:

         a. Plaintiff may not take the deposition of Lindy, or

         b. That both Plaintiff Gelov in this case, and Plaintiff Ritter in the AP case

            of Ritter vs. DuMouchelle & Adducci (AP#: 20-04381-lsg) (“Ritter”),

            take one (1) deposition of Lindy, on one (1) day, for no more than 4

            hours,

         c. That the deposition be taken via Zoom (or other remote video means),

         d. And finally, that said deposition be adjourned until after the

            undersigned counsel has been allowed to withdraw from this case.


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                                         Facts

      4.     This is one of two remaining AP cases against Lindy. Of the eight (8)

AP cases that had been filed, only these two (2) remain: Plaintiff Gelov in this case,

and Plaintiff Ritter in the AP case of Ritter vs. DuMouchelle & Adducci (AP#: 20-

04381-lsg) (“Ritter”).

      5.     Gelov and Ritter are represented by the same counsel, and, on

information and belief, strategize their litigation together.

      6.     Co-debtor, and former co-defendant, Joeseph DuMouchelle, has

waived his discharge, and, by virtue of that fact, Ritter and Gelov both already

possess judgments against Joeseph DuMouchelle, the person who was/is clearly the

‘main actor’ in the allegation underlying both complaints.

      7.     At this point, Ritter and Gelov are seeking gratuitous judgments against

Lindy only, a woman who is nearly of retirement age, and will not, in her lifetime,

ever be able to pay even a minute scintilla of the total judgment amounts they seek.

Based on this, it appears that Ritter and Gelov are not proceeding out of any sense

of “justice”, nor even of economic logic, but on a vendetta against Lindy personally.

And sadly, it appears now that Ritter and Gelov have turned that animosity against

the undersigned counsel as well.

                            Relevant Procedural History

      8.     On 07/24/2023, ECF No. 119, counsel for the Defendants filed a



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Motion to Withdraw as Attorney.

      9.     On 08/03/2023, ECF No. 125, Plaintiff filed an Objection to that

Motion to Withdraw as Attorney

      10.    On 08/22/2023, ECF No. 129, Plaintiff then issued a Second Set of

Interrogatories and Requests for Production of Documents

      11.    On 08/22/2023, ECF No. 130, Plaintiff then issued a Notice to Take

Deposition Melinda Adducci, setting the deposition for mid-October.

      12.    On 08/22/2023, ECF No. 131, Plaintiff then issued a Corrected Notice

to Take Deposition Melinda Adducci. (“Deposition Notice”)

                                     Arguments

      13.    Plaintiff is fully aware that Defendants’ counsel (now counsel for Lindy

only) has filed a motion to withdraw from this case, as Plaintiff has filed an objection

(with foundation in neither law nor court rule), to Defendant's counsel’s motion to

withdraw.

      14.    Then, during the pendency of that motion to withdraw, Plaintiff has

littered the docket with further discovery requests, and now with deposition notices,

as shown above.

      15.    Between Plaintiff Ritter and Plaintiff Gelov, Defendant Lindy has

already been deposed at least two (2) times with respect to the situation at hand.

Ritter and Gelov have the transcripts. Ritter and Gelov already filed state-court level



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lawsuits and took judgments. There is literally nothing else left to ‘discover’ in this

case.

         16.      Further, the deposition notices issued by Ritter and Gelov needlessly

schedule Lindy’s deposition on 2 days 1, in person, here in Michigan, despite the fact

that Lindy is working a day job to survive, with her husband in prison for the next

10 years, while she attempts to defend herself in these cases.

         17.      The Deposition Notice was issued for the purposes of, and is causing

and will cause: annoyance, embarrassment, oppression, and undue burden or

expense.

         18.      Pursuant to the requirements of FRCP 26(c)(1), Movant has in good

faith conferred or attempted to confer with other affected parties in an effort to

resolve the dispute without court action.

         19.      For all of the foregoing reasons, Specifically, Lindy seeks an Order

limiting discovery such that:

               a. Plaintiff may not take the deposition of Lindy, or

               b. That both Plaintiff Gelov in this case, and Plaintiff Ritter in the AP case

                  of Ritter vs. DuMouchelle & Adducci (AP#: 20-04381-lsg) (“Ritter”),



1
  Defendant’s counsel notes unequivocally: The allegations against Gelov and Ritter are not against their attorneys,
who did work with Defendant’s counsel to choose the dates in question. However, during that process, Defendant’s
counsel made clear that while he would agree to the dates (so that, in the worst case, if this Court does not enter the
order requested herein, the dates would work), that he did not consent to, and would object to, a deposition notice
issued for in-person, or for more than 1 day of deposition total.



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             take one (1) deposition of Lindy, on one (1) day, for no more than 4

             hours,

         c. That the deposition be taken via Zoom (or other remote video means),

         d. And finally, that said deposition be adjourned until after the

             undersigned counsel has been allowed to withdraw from this case.

      WHEREFORE, Defendants request that this Court enter a Protective Order,

in substantially the form attached hereto as Exhibit 1.


                                       Respectfully submitted,
                                       JOHN R. FOLEY, P.C.
                                       Counsel for Defendants

                                       By: /s/ Patrick A. Foley
      Date: September 15, 2023         Patrick A. Foley, Esq. (P74323)
                                       18572 W. Outer Drive
                                       Dearborn, MI 48128
                                       Phone: (313) 274-7377
                                       Fax: (313) 274-5946
                                       Email: pafoley@jrfpc.net




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                  Exhibit 1
               Proposed Order




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In the matter of:
JOSEPH G. DUMOUCHELLE, and                  Bankruptcy Petition No. 19-54531-lsg
MELINDA J. ADDUCCI,                                        Hon. Lisa S. Gretchko
                  Debtor(s)                                            Chapter 7


TEODOR GELOV,                                           Adv. Pro. No. 20-04172-lsg
              Plaintiff,                                     Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


                             PROTECTIVE ORDER

      THIS MATTER having come before this Court upon the motion of

Defendant Melinda Adduci (“Lindy”), seeking entry of this order; notice of the

Motion having been provided to all parties in interest; no objections having been

timely filed and served, or any such timely filed and served objections having been

overruled; and the Court being otherwise duly advised in the premises;

      NOW THEREFORE;

      IT IS HEREBY ORDERED as follows:

   1. The Plaintiff in this case, and Plaintiff in the Ritter case (AP#: 20-04381-lsg)

      (“Ritter”), shall take the deposition of Lindy at the same time.

   2. The deposition shall occur on one (1) day.



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 3. The deposition shall be conducted by Zoom or other remote video system,

    allowing Lindy to remain in Florida without traveling.

 4. The deposition shall not last longer than four (4) hours.

 5. The deposition shall be rescheduled to a date and time after counsel for Lindy

    has withdrawn from this case.




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         Exhibit 2
   Notice & Opportunity
        to Respond




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - DETROIT

In the matter of:
JOSEPH G. DUMOUCHELLE, and                                  Bankruptcy Petition No. 19-54531-lsg
MELINDA J. ADDUCCI,                                                        Hon. Lisa S. Gretchko
                  Debtor(s)                                                            Chapter 7


TEODOR GELOV,                                                              Adv. Pro. No. 20-04172-lsg
              Plaintiff,                                                        Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


      NOTICE OF MOTION AND OPPORTUNITY TO OBJECT/RESPOND

       PLEASE TAKE NOTICE that Defendant, Melinda Adducci has filed an
objection to the deposition notice issued to her by the Plaintiff, and a motion for a
protective order regarding the same.
       Your rights may be affected. You may wish to review the Motion and
discuss it with your attorney, if you have one in this bankruptcy case. If you do not
have an attorney, you may wish to consult one.
       If you wish to object to the Court granting the relief sought in the Motion, or
if you want the Court to otherwise consider your views on the Motion, within
fourteen (14) days of service of the Motion, or such shorter time as the Court may
hereafter order, you or your attorney must:

1. File with the Court a written response or an answer2, explaining your position at:
    • United States Bankruptcy Court, 211 West Fort Street, Detroit, Michigan
       48226

If you mail your response to the Court for filing, you must mail it early enough so
the Court will receive it on or before the date stated above.


2
    Response or answer must comply with FED.R.CIV.P. 8(b), (c), and (e).



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2. You must also mail a copy to both:
   •    John R. Foley, P.C., 18572 W. Outer Dr., Dearborn, MI 48128
   •    Office of the United States Trustee, 211 West Fort Street, Suite 700,
        Detroit, Michigan 48226

If a response or answer is timely filed and served, the clerk may schedule a hearing
on the Motion and you will be served with a notice of the date, time, and location
of the hearing.

If you or your attorney do not take these steps, the Court may decide that you do
not oppose the relief sought in the Motion and may enter an Order granting the
relief sought therein.


                                       Respectfully Submitted,
                                       JOHN R. FOLEY, P.C.
                                       Counsel for Defendant

      Date: September 15, 2023         By: /s/ Patrick A. Foley
                                       Patrick A. Foley (P74323)
                                       18572 W. Outer Drive
                                       Dearborn, MI 48128
                                       Phone: (313) 274-7377
                                       Fax: (313) 274-5946
                                       Email: pafoley@jrfpc.net




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                  Exhibit 3
               Brief in Support




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT
In the matter of:
 JOSEPH DUMOUCHELLE FINE &                   Bankruptcy Petition No. 19-56239-lsg
 ESTATE JEWELLERS, L.L.C,                                   Hon. Lisa S. Gretchko
                  Debtor.


TEODOR GELOV,                                             Adv. Pro. No. 20-04172-lsg
              Plaintiff,                                       Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


 BRIEF IN SUPPORT OF OBJECTION TO DEPOSITION NOTICE AND
              MOTION FOR PROTECTIVE ORDER

      NOW COMES the Defendant, Melinda Adducci, who, in support of her

Objection to Deposition Notice, and Motion for Protective Order, hereby states as

follows:

      1.     Petitioner relies on the law, rules, and arguments set forth in the Motion

to Withdraw, and incorporates the same, as though fully set forth herein.

      WHEREFORE, Defendants request that this Court enter a Protective Order,

in substantially the form attached hereto as Exhibit 1.



                           (Signature on following page.)




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                                      Respectfully Submitted,
                                      JOHN R. FOLEY, P.C.
                                      Counsel for Defendant

     Date: September 15, 2023         By: /s/ Patrick A. Foley
                                      Patrick A. Foley (P74323)
                                      18572 W. Outer Drive
                                      Dearborn, MI 48128
                                      Phone: (313) 274-7377
                                      Fax: (313) 274-5946
                                      Email: pafoley@jrfpc.net




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                  Exhibit 4
               Proof of Service




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In the matter of:
JOSEPH G. DUMOUCHELLE, and                  Bankruptcy Petition No. 19-54531-lsg
MELINDA J. ADDUCCI,                                        Hon. Lisa S. Gretchko
                  Debtor(s)                                            Chapter 7


TEODOR GELOV,                                          Adv. Pro. No. 20-04172-lsg
              Plaintiff,                                    Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


                         CERTIFICATE OF SERVICE

Patrick A. Foley hereby certifies that on September 15, 2023 copies of the foregoing
Objection to Deposition Notice and Motion for Protective Order, the Proposed
Order, Notice, and this Certificate of Service were served upon the following parties
via the Court’s CM/ECF (PACER) system, and/or by United States Postal Service
First Class Mail:
   • Office of the United States Trustee
   • All parties receiving notice via the Court’s CM/ECF (PACER) filing system

                                       Respectfully Submitted,
                                       JOHN R. FOLEY, P.C.
                                       Counsel for Defendant

      Date: September 15, 2023         By: /s/ Patrick A. Foley
                                       Patrick A. Foley (P74323)
                                       18572 W. Outer Drive
                                       Dearborn, MI 48128
                                       Phone: (313) 274-7377
                                       Fax: (313) 274-5946
                                       Email: pafoley@jrfpc.net



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